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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF MONTANA


       In re: MORRISON, JEFFERY LYNN                                  §    Case No. 15-61072-RBK
              MORRISON, CHERYL K.                                     §
                                                                      §
   Debtor(s)                                                          §
         CHAPTER 7 TRUSTEE'S FINAL ACCOUNT AND DISTRIBUTION
  REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                 AND APPLICATION TO BE DISCHARGED (TDR)

         JOSEPH V. WOMACK, TRUSTEE, chapter 7 trustee, submits this Final Account,
Certification that the Estate has been Fully Administered and Application to be Discharged.

         1) All funds on hand have been distributed in accordance with the Trustee's Final Report
and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee's control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

        2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
discharged without payment, and expenses of administration is provided below:


 Assets Abandoned: $9,350.27                            Assets Exempt: $9,298.60
 (without deducting any secured claims)
 Total Distribution to Claimants:$712.00               Claims Discharged
                                                       Without Payment: $116,653.10

 Total Expenses of Administration:$450.67


         3) Total gross receipts of $     1,311.00       (see Exhibit 1 ), minus funds paid to the debtor
 and third parties of $      148.33 (see Exhibit 2    ), yielded net receipts of $1,162.67
from the liquidation of the property of the estate, which was distributed as follows:




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                                        CLAIMS              CLAIMS             CLAIMS             CLAIMS
                                      SCHEDULED            ASSERTED           ALLOWED              PAID


 SECURED CLAIMS
 (from Exhibit 3)                               $0.00             $0.00               $0.00             $0.00

 PRIORITY CLAIMS:
    CHAPTER 7 ADMIN. FEES
    AND CHARGES
    (from Exhibit 4 )                            0.00            450.67             450.67             450.67

   PRIOR CHAPTER
   ADMIN. FEES AND
   CHARGES (fromExhibit 5 )                      0.00               0.00               0.00                 0.00
   PRIORITY UNSECURED
   CLAIMS (from Exhibit 6 )                 17,011.88          18,036.01          18,036.01            712.00
 GENERAL UNSECURED
 CLAIMS (fromExhibit 7)                     91,354.42          85,414.86          85,414.86                 0.00

                                          $108,366.30        $103,901.54        $103,901.54         $1,162.67
 TOTAL DISBURSEMENTS

          4) This case was originally filed under Chapter 7 on November 12, 2015.
  The case was pending for 13 months.

          5) All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

           6) An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8 . The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9 .

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

  Dated: 12/09/2016                 By: /s/JOSEPH V. WOMACK, TRUSTEE
                                        Trustee


  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. §1320.4(a)(2) applies.




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                                                                 EXHIBITS TO
                                                               FINAL ACCOUNT



EXHIBIT 1 GROSS RECEIPTS

                                                                                           UNIFORM                               $ AMOUNT
              DESCRIPTION
                                                                                          TRAN. CODE 1                           RECEIVED
     2015 tax refunds                                                                     1224-000                                 1,141.00

     2014 tax refunds                                                                     1224-000                                  170.00


    TOTAL GROSS RECEIPTS                                                                                                          $1,311.00

1
    The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


EXHIBIT 2 FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                           UNIFORM                               $ AMOUNT
        PAYEE                                      DESCRIPTION
                                                                                          TRAN. CODE                                PAID
 CHERYL AND JEFFERY MORRISON                      Exempt portion of 2015 tax
                                                  refunds                                 8100-002                                  148.33

    TOTAL FUNDS PAID TO DEBTOR AND THIRD                                                                                           $148.33
    PARTIES

EXHIBIT 3 SECURED CLAIMS


                                                      UNIFORM          CLAIMS
       CLAIM                                                          SCHEDULED               CLAIMS                  CLAIMS         CLAIMS
        NO.               CLAIMANT                     TRAN.           (from Form            ASSERTED                ALLOWED          PAID
                                                       CODE                6D)
                                                                  None


    TOTAL SECURED CLAIMS                                                          $0.00                $0.00             $0.00                 $0.00



EXHIBIT 4 CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                                      UNIFORM
        PAYEE                                                          CLAIMS                 CLAIMS                  CLAIMS         CLAIMS
                                                       TRAN.
                                                                      SCHEDULED              ASSERTED                ALLOWED          PAID
                                                       CODE
 JOSEPH V. WOMACK, TRUSTEE                             2100-000            N/A                        290.67            290.67                290.67

 JOSEPH V. WOMACK, TRUSTEE                             2200-000            N/A                        100.00            100.00                100.00

 Rabobank, N.A.                                        2600-000            N/A                         10.00             10.00                 10.00

 Rabobank, N.A.                                        2600-000            N/A                         10.00             10.00                 10.00


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 Rabobank, N.A.                         2600-000           N/A                          10.00         10.00       10.00

 Rabobank, N.A.                         2600-000           N/A                          10.00         10.00       10.00

 Rabobank, N.A.                         2600-000           N/A                          10.00         10.00       10.00

 Rabobank, N.A.                         2600-000           N/A                          10.00         10.00       10.00

 TOTAL CHAPTER 7 ADMIN. FEES                               N/A                      $450.67        $450.67      $450.67
 AND CHARGES


EXHIBIT 5 PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES


                                        UNIFORM
    PAYEE                                              CLAIMS                CLAIMS              CLAIMS       CLAIMS
                                         TRAN.
                                                      SCHEDULED             ASSERTED            ALLOWED        PAID
                                         CODE
                                                    None

 TOTAL PRIOR CHAPTER ADMIN.                                N/A                         $0.00         $0.00        $0.00
 FEES AND CHARGES


EXHIBIT 6 PRIORITY UNSECURED CLAIMS


                                        UNIFORM        CLAIMS                CLAIMS
   CLAIM                                              SCHEDULED             ASSERTED             CLAIMS       CLAIMS
    NO.           CLAIMANT               TRAN.         (from Form          (from Proofs of      ALLOWED        PAID
                                         CODE              6E)                  Claim)
      8     WYOMING WORKERS COMPENSATION 5800-000           17,011.88             18,036.01       18,036.01      712.00

 NOTFILED   INTERNAL REVENUE SERVICE    5800-000                    0.00         N/A                 N/A           0.00

 TOTAL PRIORITY UNSECURED                                  $17,011.88            $18,036.01      $18,036.01     $712.00
 CLAIMS


EXHIBIT 7 GENERAL UNSECURED CLAIMS


                                        UNIFORM        CLAIMS                CLAIMS
   CLAIM                                              SCHEDULED             ASSERTED             CLAIMS       CLAIMS
    NO.           CLAIMANT               TRAN.         (from Form          (from Proofs of      ALLOWED        PAID
                                         CODE              6F)                  Claim)
      1     ROCKY MOUNTAIN CREDIT       7100-000            54,000.00             66,429.00       66,429.00        0.00

      2     MONTANA DEPT OF REVENUE     7100-000                    0.00                35.13         35.13        0.00

      3     AMERICAN INFOSOURCE LP AS   7100-000             1,132.00                  394.70        394.70        0.00
            AGENT FOR
      4     COLLECTION PROFESSIONALS    7100-000             9,604.19             11,115.75       11,115.75        0.00

      5     RECOVERY SYSTEMS INC        7100-000             7,653.00               5,050.10       5,050.10        0.00

      6     RECOVERY SYSTEMS INC        7100-000             5,051.00               1,660.06       1,660.06        0.00

      7     AMERICAN INFOSOURCE LP AS   7100-000           N/A                         730.12        730.12        0.00
            AGENT FOR
 NOTFILED   JEFFERSON CAPITAL SYST      7100-000                 465.00          N/A                 N/A           0.00

 NOTFILED   HOLY ROSARY HEALTHCARE      7100-000                 141.75          N/A                 N/A           0.00



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 NOTFILED   FIRST NATIONAL COLLECT      7100-000       730.00   N/A              N/A        0.00

 NOTFILED   MAVERICK COUNTY STORE NORTH 7100-000     1,588.00   N/A              N/A        0.00
            SALT LAKE UT OFFICE
 NOTFILED   SAND CREEK FAMILY DENTAL    7100-000     1,743.00   N/A              N/A        0.00

 NOTFILED   SCL HEALTH SYSTEM           7100-000       620.75   N/A              N/A        0.00

 NOTFILED   PRAIRIE COUNTY COURTHOUSE   7100-000       245.00   N/A              N/A        0.00
            ASSESMENT OFFICE
 NOTFILED   PRO TECH DIESEL             7100-000     1,398.00   N/A              N/A        0.00

 NOTFILED   DAWN DIGITAL IMAGING        7100-000       115.32   N/A              N/A        0.00

 NOTFILED   MCDONALDS                   7100-000        20.00   N/A              N/A        0.00

 NOTFILED   BIG SKY PHARMACY            7100-000        50.00   N/A              N/A        0.00

 NOTFILED   BILLINGS CLINIC             7100-000     6,005.41   N/A              N/A        0.00

 NOTFILED   ABC GLASS AND SIGNS         7100-000       528.00   N/A              N/A        0.00

 NOTFILED   CREDIT COLLECTION           7100-000       264.00   N/A              N/A        0.00

 TOTAL GENERAL UNSECURED                           $91,354.42   $85,414.86   $85,414.86    $0.00
 CLAIMS




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                                                                                                                                                             Exhibit 8


                                                                           Form 1                                                                            Page: 1

                                          Individual Estate Property Record and Report
                                                           Asset Cases
Case Number: 15-61072-RBK                                                          Trustee:       (460040)      JOSEPH V. WOMACK, TRUSTEE
Case Name:        MORRISON, JEFFERY LYNN                                           Filed (f) or Converted (c): 11/12/15 (f)
                  MORRISON, CHERYL K.                                              §341(a) Meeting Date:        12/17/15
Period Ending: 12/09/16                                                            Claims Bar Date:             03/21/16

                                1                                  2                          3                      4              5                   6

                    Asset Description                           Petition/            Estimated Net Value         Property      Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)             Unscheduled       (Value Determined By Trustee,   Abandoned      Received by      Administered (FA)/
                                                                 Values            Less Liens, Exemptions,      OA=§554(a)      the Estate       Gross Value of
Ref. #                                                                                 and Other Costs)                                         Remaining Assets

 1       STOCKMAN BANK Checking 4181                                   136.73                       0.00                                 0.00                    FA
          Orig. Description: STOCKMAN BANK PO BOX 6
         TERRY, MT 59349 CHECKING...4181; Imported from
         original petition Doc# 1

 2       HOUSEHOLD GOODS AND FURNISHINGS                           1,290.00                         0.00                                 0.00                    FA
          Orig. Description: 1 COUCH - 100 5 LAMPS - 10 1
         TABLE - 100 3 CHAIRS - 75 5 BEDS - 100 4 END
         TABLES - 40 6 DRESSERS - 150 2 TV'S - 100 2
         VCR/DVD PLAYERS - 25 1 BBQ - 10 1
         LAWNMOWER - 30 1 ENTERTAINMENT CENTER -
         50 1 REFRIGERATOR - 100 1 WASHER/DRYER
         SET - 100 1 MICROWAVE - 10 1 FREEZER - 20 1
         SATELLITE DISH - 10 1 PIANO - 180 2
         BINOCULARS - 20 1 LAPTOP - 50 1 PRINTER - 10;
         Imported from original petition Doc# 1

 3       WEARING APPAREL                                               175.00                       0.00                                 0.00                    FA
          Orig. Description: MENS/WOMENS CLOTHING;
         Imported from original petition Doc# 1

 4       FURS AND JEWELRY                                              175.00                       0.00                                 0.00                    FA
          Orig. Description: WEDDING RINGS; Imported from
         original petition Doc# 1

 5       FIREARMS AND HOBBY EQUIPMENT                                  575.00                       0.00                                 0.00                    FA
          Orig. Description: 1 MOSSBURG 12 GAGE
         SHOTGUN - 50 1 BROWNING 300 SHORTMAG -
         300 1 REMMINGTON 870 SHOTGUN - 175 3
         FISHING RODS/REELS - 30 2 TACKLE BOXES
         WITH LURES/HOOKS - 20; Imported from original
         petition Doc# 1

 6       MONTANA TEACHERS RETIREMENT                               1,652.70                         0.00                                 0.00                    FA
          Orig. Description: MONTANA TEACHERS
         RETIREMENT; Imported from original petition Doc# 1

 7       WELLS FARGO ADVANTAGE FUNDS SIMPLE IRA                    2,136.84                         0.00                                 0.00                    FA
          Orig. Description: WELLS FARGO ADVANTAGE
         FUNDS SIMPLE IRA; Imported from original petition
         Doc# 1



                                                                                                                              Printed: 12/09/2016 11:46 AM    V.13.28
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                                                                                                                                                                                  Exhibit 8


                                                                                     Form 1                                                                                       Page: 2

                                            Individual Estate Property Record and Report
                                                             Asset Cases
Case Number: 15-61072-RBK                                                                     Trustee:          (460040)    JOSEPH V. WOMACK, TRUSTEE
Case Name:         MORRISON, JEFFERY LYNN                                                     Filed (f) or Converted (c): 11/12/15 (f)
                   MORRISON, CHERYL K.                                                        §341(a) Meeting Date:         12/17/15
Period Ending: 12/09/16                                                                       Claims Bar Date:              03/21/16

                                 1                                           2                             3                      4                    5                      6

                     Asset Description                                   Petition/             Estimated Net Value           Property             Sale/Funds           Asset Fully
          (Scheduled And Unscheduled (u) Property)                     Unscheduled        (Value Determined By Trustee,     Abandoned             Received by       Administered (FA)/
                                                                          Values             Less Liens, Exemptions,        OA=§554(a)             the Estate        Gross Value of
Ref. #                                                                                           and Other Costs)                                                   Remaining Assets

 8        2002 GMC DENALI                                                     3,009.00                             0.00                                      0.00                     FA
           Orig. Description: 2002 GMC DENALI; Imported
          from original petition Doc# 1

 9        1994 CADILLAC DEVILLE (DOES NOT RUN, NO                                100.00                         100.00                                       0.00                     FA
          ENGINE,
           Junk no value.

10        2000 PONTIAC GRAND PRIX SE (DOES NOT RUN)                              100.00                         100.00                                       0.00                     FA
          - SCRA
           Junk no value.ll

11        2015 tax refunds (u)                                               Unknown                           1,851.67                                 1,141.00                      FA
           we get $992.67 which is 87%of $1,141

12        2014 tax refunds (u)                                               Unknown                            100.00                                     170.00                     FA
           Federal filed and sent on time. Only state refunds.

 12      Assets       Totals (Excluding unknown values)                      $9,350.27                      $2,151.67                                  $1,311.00                   $0.00



      Major Activities Affecting Case Closing:

                   10/06/16 Checks cut - waiting for checks to clear to do TDR mw
                   09/21/16 Filed NFR & FA w/Court; waiting for approval to cut checks mw
                   07/28/16 TFR to USTP mw
                   06/30/16 Ready for TFR mw
                   04/12/16 Claims reviewed mw
                   04/05/16 MDOR checks sent to debtors --
                   03/11/16 Sent letter to Debtors - we get $992.67 which is 87% of $1,141 kw
                   03/11/16 Sent inquiry to IRS re 2013 and 2014 refunds. Should be getting 519 for 2013 and 2701 for 2014. ll
                   12/22/15 Tax hold done. ll
                   12/08/15 2013 and 2014 taxes just filed if there's anything available for the estate 100% ours. ll

      Initial Projected Date Of Final Report (TFR):        July 1, 2016                          Current Projected Date Of Final Report (TFR):       July 28, 2016 (Actual)




                                                                                                                                                 Printed: 12/09/2016 11:46 AM      V.13.28
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                                                                                                                                                                           Exhibit 9


                                                                             Form 2                                                                                         Page: 1

                                                  Cash Receipts And Disbursements Record
Case Number:        15-61072-RBK                                                               Trustee:            JOSEPH V. WOMACK, TRUSTEE (460040)
Case Name:          MORRISON, JEFFERY LYNN                                                     Bank Name:          Rabobank, N.A.
                    MORRISON, CHERYL K.                                                        Account:            ******6966 - Checking Account
Taxpayer ID #: **-***4085                                                                      Blanket Bond:       $65,574,033.00 (per case limit)
Period Ending: 12/09/16                                                                        Separate Bond: N/A

   1            2                           3                                  4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                                      Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From            Description of Transaction                 T-Code              $                   $       Account Balance
01/04/16      {12}       State of Montana              Cheryl Morrison's 2014 MDOR Tax Refund             1224-000                   9.00                                      9.00
01/04/16      {12}       State of Montana              Jeff Morrison's 2014 MDOR Tax Refund               1224-000                 161.00                                   170.00
01/29/16                 Rabobank, N.A.                Bank and Technology Services Fee                   2600-000                                        10.00             160.00
03/01/16                 Rabobank, N.A.                Bank and Technology Services Fee                   2600-000                                        10.00             150.00
03/31/16                 Rabobank, N.A.                Bank and Technology Services Fee                   2600-000                                        10.00             140.00
04/11/16      {11}       State of Montana              Cheryl's 2015 state refund                         1224-000                   5.00                                   145.00
04/11/16      {11}       State of Montana              Jeffery's 2015 state refund                        1224-000                 249.00                                   394.00
04/29/16      {11}       United States Treasury        2015 Federal Tax Refunds                           1224-000                 887.00                                  1,281.00
04/29/16                 Rabobank, N.A.                Bank and Technology Services Fee                   2600-000                                        10.00            1,271.00
05/02/16      101        CHERYL AND JEFFERY            Exempt portion of 2015 tax refunds                 8100-002                                       148.33            1,122.67
                         MORRISON
05/31/16                 Rabobank, N.A.                Bank and Technology Services Fee                   2600-000                                        10.00            1,112.67
06/30/16                 Rabobank, N.A.                Bank and Technology Services Fee                   2600-000                                        10.00            1,102.67
10/06/16      102        WYOMING WORKERS               Dividend paid 3.94% on $18,036.01; Claim#          5800-000                                       712.00             390.67
                         COMPENSATION                  8; Filed: $18,036.01; Reference:
10/06/16      103        JOSEPH V. WOMACK, TRUSTEE     COMBINED CHECK FOR TRUSTEE                                                                        390.67                0.00
                                                       COMPENSATION 290.67, EXPENSES 100.00
                                                          Dividend paid 100.00%              290.67       2100-000                                                             0.00
                                                          on $290.67; Claim# ;
                                                          Filed: $290.67
                                                          Dividend paid 100.00%              100.00       2200-000                                                             0.00
                                                          on $100.00; Claim# ;
                                                          Filed: $100.00

                                                                             ACCOUNT TOTALS                                     1,311.00              1,311.00               $0.00
                                                                                     Less: Bank Transfers                            0.00                  0.00
                                                                             Subtotal                                           1,311.00              1,311.00
                                                                                     Less: Payments to Debtors                                           148.33
                                                                             NET Receipts / Disbursements                     $1,311.00              $1,162.67




{} Asset reference(s)                                                                                                                   Printed: 12/09/2016 11:46 AM        V.13.28
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                                                                                                                                                                Exhibit 9


                                                                   Form 2                                                                                       Page: 2

                                               Cash Receipts And Disbursements Record
Case Number:        15-61072-RBK                                                    Trustee:            JOSEPH V. WOMACK, TRUSTEE (460040)
Case Name:          MORRISON, JEFFERY LYNN                                          Bank Name:          Rabobank, N.A.
                    MORRISON, CHERYL K.                                             Account:            ******6967 - Checking Account
Taxpayer ID #: **-***4085                                                           Blanket Bond:       $65,574,033.00 (per case limit)
Period Ending: 12/09/16                                                             Separate Bond: N/A

   1            2                         3                          4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                           Receipts         Disbursements    Checking
  Date      Check #        Paid To / Received From     Description of Transaction              T-Code              $                   $       Account Balance

   (No Transactions on File for this Period)                       ACCOUNT TOTALS                                         0.00                 0.00               $0.00
                                                                          Less: Bank Transfers                            0.00                 0.00
                                                                   Subtotal                                               0.00                 0.00
                                                                          Less: Payments to Debtors                                            0.00
                                                                   NET Receipts / Disbursements                          $0.00                $0.00



                                                                                                                      Net              Net                  Account
                                                                   TOTAL - ALL ACCOUNTS                             Receipts      Disbursements             Balances

                                                                   Checking # ******6966                             1,311.00              1,162.67                0.00
                                                                   Checking # ******6967                                  0.00                 0.00                0.00

                                                                                                                   $1,311.00              $1,162.67               $0.00




{} Asset reference(s)                                                                                                        Printed: 12/09/2016 11:46 AM        V.13.28
